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                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   UNITED STATES COMMODITY        )              Civil No. 19-00544 DKW-KJM
   FUTURES TRADING                )
   COMMISSION,                    )              FINDINGS AND
                                  )              RECOMMENDATION TO GRANT
                  Plaintiff,      )              PLAINTIFF’S MOTION FOR FINAL
                                  )              JUDGMENT BY DEFAULT,
        vs.                       )              PERMANENT INJUNCTION, CIVIL
                                  )              MONETARY PENALTIES, AND
   PETER SZATMARI,                )              OTHER STATUTORY AND
                                  )              EQUITABLE RELIEF
                  Defendant.      )
   _______________________________)


                   FINDINGS AND RECOMMENDATION
        TO GRANT PLAINTIFF’S MOTION FOR FINAL JUDGMENT BY
          DEFAULT, PERMANENT INJUNCTION, CIVIL MONETARY
       PENALTIES, AND OTHER STATUTORY AND EQUITABLE RELIEF

         On May 22, 2020, Plaintiff United States Community Futures Trading

   Commission (“Plaintiff” or the “Commission”) filed a Motion for Final Judgment

   by Default, Permanent Injunction, Civil Monetary Penalties, and Other Statutory

   and Equitable Relief (“Motion”). ECF No. 26. Defendant Peter Szatmari

   (“Defendant”) was served with a copy of the Motion, but did not file an opposition.

   ECF No. 27 at 33-34.

         On May 26, 2020, the Court found this matter suitable for disposition

   without a hearing pursuant to Local Rule 7.1(c) of the Local Rules of Practice for

   the United States District Court for the District of Hawaii. ECF No. 28. Based on
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   the following, and after carefully considering the Motion, the supporting

   memorandum, declaration, and exhibits attached thereto, and the record established

   in this action, the Court FINDS AND RECOMMENDS that the district court

   GRANT the Motion.

                                    BACKGROUND

         On October 7, 2019, Plaintiff filed the Complaint against Defendant. See

   ECF No. 1. The Complaint states that Plaintiff is an independent federal

   regulatory agency that is charged by Congress with responsibility for administering

   and enforcing the provision of the Commodity Exchange Act (the “Act”),

   specifically, 7 U.S.C. §§ 1-26 and the Regulations, 17 C.F.R. Pt. 1-190. See id. at

   4 ¶ 9. Defendant was a resident of Hawaii during the relevant violation period.

   See id at ¶ 10.

         The Complaint alleges that in the time period as early as 2014 to December

   2016, Defendant and his business partner, David Sechovicz, 1 (“Partner”) “created

   and disseminated millions of fraudulent solicitations to convince recipients to open

   and fund binary options trading accounts on websites operated by unregistered,

   off-exchange brokers.” Id. at 1 ¶ 1. The Complaint alleges that by this conduct




   1
    David Sechovicz entered into a settlement agreement with Plaintiff regarding the
   same claims and violations in this case. ECF No. 27-1 at 15-27.
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   Defendant violated the Act, 7 U.S.C. §§ 1-26 (2012) and 17 C.F.R. Pt. 1-190

   (2019). See id. at 2 ¶ 4.

         On December 4, 2019, the Court granted an Ex Parte Application for Order

   to Serve Defendant by Publication. See ECF No. 12. On January 15, 2020,

   Plaintiff filed a Motion for Entry of Default and an Affidavit of Publication. See

   ECF No. 13,15. On January 22, 2020, the Court issued an Entering Order Denying

   Without Prejudice the Motion for Entry of Default and allowed for the re-

   publishing of the summons for Defendant. See ECF No. 17. Plaintiff filed an

   Affidavit of Publication pursuant to the January 22, 2020 Entering Order on

   February 24, 2020. See ECF No. 19.

         Thereafter, on March 12, 2020 Plaintiff filed a renewed Motion for Entry of

   Default. See ECF No. 20. On March 18, 2020, the Court issued an Entering Order

   requiring Plaintiff to file a Supplemental Declaration addressing whether the

   Defendant had responded to the Complaint as of March 13, 2020. 2 See ECF No.

   21. Plaintiff filed the Supplemental Declaration on March 18, 2020. See ECF No.

   22. After Defendant failed to appear or otherwise respond to the Complaint, the

   Clerk of the Court entered default against Defendant on March 19, 2020. See ECF

   No. 23. Plaintiff filed the instant Motion on May 22, 2020.



   2
    Plaintiff filed its renewed Motion for Entry of Default a day before the expiration
   of the deadline for Defendant to respond to the Complaint. See ECF No. 21.
                                            3
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                                        DISCUSSION

   I.    Legal Standard

         Default judgment may be entered for the plaintiff if the defendant has

   defaulted by failing to appear or otherwise defend against the plaintiff’s complaint

   and the plaintiff’s claim is for a “sum certain or for a sum which can by

   computation be made certain[.]” Fed. R. Civ. P. 55(a), (b). The granting or denial

   of a motion for default judgment is within the discretion of the court. Haw.

   Carpenters’ Trust Funds v. Stone, 794 F.2d 508, 511-12 (9th Cir. 1986). Entry of

   default does not entitle the non-defaulting party to a default judgment as a matter

   of right. In re Villegas, 132 B.R. 742, 746 (B.A.P. 9th Cir. 1991). Default

   judgments are ordinarily disfavored, and cases should be decided on their merits if

   reasonably possible. Eitel v. McCool, 782 F.2d 1470, 1472 (9th Cir. 1986). Courts

   may consider the following factors in deciding whether to grant a motion for

   default judgment (collectively, “Eitel factors”):

         (1) The possibility of prejudice to the plaintiff, (2) the merits of the
         plaintiff’s substantive claim, (3) the sufficiency of the complaint, (4)
         the sum of money at stake in the action[,] (5) the possibility of a
         dispute concerning material facts[,] (6) whether the default was due to
         excusable neglect, and (7) the strong policy underlying the Federal
         Rules of Procedure favoring decisions on the merits.

   Id. at 1471-72 (citation omitted).

         On default, “the factual allegations of the complaint, except those relating to

   the amounts of damages, will be taken as true.” TeleVideo Sys., v. Heidenthal, 826
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   F.2d 915, 17 (9th Cir. 1987) (quoting Geddes v. United Fin. Group, 559 F.2d 557,

   560 (9th Cir. 1977)). The allegations in the complaint regarding liability are

   deemed true, but the plaintiff must establish the relief to which it is entitled. Fair

   Hous. of Marin v. Combs, 285 F.3d 899, 906 (9th Cir. 2002). Also, “necessary

   facts not contained in the pleadings, and the claims which are legally insufficient

   are not established by default.” Cripps v. Life Ins. Co. of N. Am., 980 F.2d 1261,

   1267 (9th Cir. 1992) (citing Danning v. Lavine, 572 F.2d 1386, 1388 (9th Cir.

   1978)).

   II.   Jurisdiction

         Before considering the merits of the Motion, the Court has an affirmative

   obligation to determine whether it has subject matter jurisdiction over this action

   and personal jurisdiction over Defendant. See In re Tuli, 172 F.3d 707, 712 (9th

   Cir. 1999) (“To avoid entering a default judgment that can later be successfully

   attacked as void, a court should determine whether it has the power, i.e., the

   jurisdiction, to enter the judgment in the first place.”).

         The Court finds that it has subject matter jurisdiction over this action

   pursuant to Section 6c(a) of the Act, 7 U.S.C. § 13a-1 (2012), which authorizes the

   Commission to seek injunctive relief against any person whenever it shall appear

   to the Commission that such person has engaged, is engaging, or is about to engage

   in any act or practice constituting a violation of any provision of the Act or any


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   rule, regulation, or order thereunder. Also, venue is proper pursuant to Section

   6c(e) of the Act, 7 U.S.C. § 13a-1(e) because Defendant transacted business in this

   district. Additionally, transactions and acts in violation of the Act occurred in this

   district.

          The Court also finds that personal jurisdiction exists over Defendant based

   on Plaintiff’s allegation that Defendant was a resident of the State of Hawaii during

   the period of the alleged violations. See ECF No. 27-1 at 4. Accordingly, the

   Court turns to the merits of the Motion.

   III.   Application of the Eitel Factors

          Following a determination that jurisdiction is proper, the Court must

   consider whether default judgment is appropriate under the Eitel factors.

          A.    Possibility of Prejudice to Plaintiff

          The first Eitel factor considers whether Plaintiff would suffer prejudice if

   default judgment is not entered. See PepsiCo, Inc. v. Cal. Sec. Cans, 238 F. Supp.

   2d 1172, 1177 (C.D. Cal. 2002). In this case, absent entry of default judgment,

   Plaintiff would be without another recourse for recovery against Defendant.

   Accordingly, the first Eitel factor favors the entry of default judgment.

          B.    Merits of Plaintiff’s Substantive Claims and Sufficiency of the
                Complaint

          Under the second Eitel factor, the Court considers the merits of Plaintiff’s

   substantive claims. The allegations in the complaint are taken as true for purposes
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   of determining liability. See TeleVideo Sys., Inc., 826 F.2d at 917-18; Fair Hous.

   of Marin, 285 F.3d at 906. Taking Plaintiff’s allegations in the Complaint as true,

   the Court finds that Plaintiff has established that it is entitled to default judgment

   against Defendant.

         The Complaint alleges that between 2014 and December 2016, Defendant

   and Partner fraudulently solicited consumers into opening and funding binary

   option accounts on websites operated by unregistered, off-exchange brokers. ECF

   No. 1 at 1, ECF No. 27-1 at 5-11. The fake and misleading solicitations were

   through emails, websites, professional videos, advertisements and social media.

   ECF No. 27-1 at 5-11. These solicitations convinced consumers to open binary

   trading accounts and/or use automated trading software in their accounts to trade

   binary options. Id. The solicitations promised significant profits by using the

   trading software. ECF No. 1 at 1-2, ECF No. 27-1 at 5-11. The false solicitations

   came in various forms. Some solicitations used fake testimony of actors claiming

   to be making a profit from the use of the software, while others showed fake bank

   and trading accounts with supposed profits from trading binary options. ECF No.

   27-1 at 5-11.

         The Complaint also alleges that Defendant and Partner knew that the

   solicitations were false and misleading, that the software did not work as claimed,

   and that consumers who opened and funded binary accounts with the unregistered


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   brokers were unlikely to make a profit. ECF No. 1 at 1-2 ¶¶ 1, 3. From this

   conduct, Defendant and Partner received approximately $3.8 million from flat fees

   paid to them for each new account that was opened and funded. ECF No. 1 at 2 ¶

   2.

         In its Complaint, Plaintiff asserts five counts against Defendant for various

   violations of the Act and the Code of Federal Regulations Title 17. The Complaint

   asserts the following claims: Count I: violations of Sections 4c(b) of the Act, 7

   U.S.C. § 6c(b) (2012) and regulation 32.4, 17 C.F.R. § 32.4 (2019); Count II:

   violations of Section 4o(1) of the Act, 7 U.S.C. § 6o(1) (2012); Count III:

   violations of Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) (2012) and Regulation

   180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-(3) (2019); Count IV: violation of

   Regulation 4.41(a)(1)-(2), 17 C.F.R. § 4.41(a)(1)(2) (2019); Count V: violations of

   Regulation 4.41(a)(3) and (b)(1)-(2), 17 C.F.R. § 4.41(a)(3), (b)(1)-(2) (2019).

   ECF No. 1 at 9-16.

                1.      Count I

                Count I alleges fraud by misrepresentation and omission, specifically

   that Defendant committed fraud in violation of § 4c of the Act, 7 U.S.C. § 6c (b)

   (2012). This section states:

         No person shall offer to enter into, enter into or confirm the execution
         of, any transaction involving commodity regulated under this chapter
         which is of the character of, or is commonly known to the trade as, an
         “option”, “privilege”, “indemnity”, “bid”, “offer”, “put”, “call”,
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         “advance guaranty”, or “decline guaranty”, contrary to any rule,
         regulation, or order of the Commission prohibiting any such
         transaction under such terms and conditions as the Commission shall
         prescribe.

   7 U.S.C § 6c(b) (2012).

         Additionally, 17 C.F.R. § 32.4 provides:

         In or in connection with an offer to enter into, the entry into, or the
         confirmation of the execution of, any commodity option transaction, it
         shall be unlawful for any person directly or indirectly: (a) [t]o cheat or
         defraud or attempt to cheat or defraud any other person; (b) [t]o make
         or cause to be made to any other person any false report or statement
         thereof or cause to be entered for any person any false record thereof;
         or (c) [t]o deceive or attempt to deceive any other person by any
         means whatsoever.

   17 C.F.R. § 32.4 (2012).

         To establish liability under these sections, Plaintiff must show that

   Defendant made material misrepresentations or omissions with scienter.

   Commodity Futures Trading Comm’n v. R.J. Fitzgerald & Co., 310 F.3d 1321,

   1328-29 (11th Cir. 2002). “Scienter is established by showing that Defendants

   committed the violations intentionally or ‘that the representations were made with

   a reckless disregard for their truth or falsity.” U.S. Commodity Futures Trading

   Commission v. Capitol Equity FX, LLC., CV 17-743 JGB, 2017 WL 9565340

   (C.D. Cal. 1987).

         By the conduct described in the Complaint, Defendant made material

   misrepresentations or omissions in his marketing solicitations that induced


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 consumers to open and fund binary option trading accounts. In these marketing

 solicitations, Defendant: (1) misrepresented that trading binary options would

 generate guaranteed profits while minimizing or disclaiming any risks; (2) claimed

 trading software was tested and produced profits when software had not been

 tested; (3) used actors or fake personalities as real owners of the trading software;

 and (4) depicted fictious trading results as real. ECF No. 1 at 1 ¶ 1, 27-1 at 5-11.

       These misrepresentations and omissions were material because Defendant’s

 consumers would have considered this information important in making a decision

 to invest. U.S. Commodity Futures Trading Comm’n vs. WeCorp., Inc., Civ. No.

 09-153 PMP, 2009 WL 10677037 (D. Haw. Sept. 11, 2009). Defendant acted with

 scienter because he knew that the misrepresentations were false. Defendant knew

 that the binary options did not guarantee a profit as he stated, that the software he

 touted had not been tested or did not work and that actors were portraying users of

 the software system. Accordingly, Plaintiff has sufficiently stated a claim for

 violations of Section 4c(b) of the Act, 7 U.S.C. § 6c(b) (2012) and regulation 32.4,

 17 C.F.R. § 32.4 (2019).

              2.     Counts II and IV

              Counts II and IV allege fraud by a Commodity Trading Advisor

 (“CTA”), specifically violations of 7 U.S.C § 6o(1) (2018) which makes it

 unlawful for a CTA to:


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       (A) to employ any device, scheme, or artifice to defraud any client or
       participant or prospective client or participant; or
       (B) to engage in any transaction, practice, or course of business which
       operates as a fraud or deceit upon any client or participant or
       prospective client or participant.

 7 U.S.C. § 6o(1) (2012).

       Plaintiff has made a showing that Defendant was a CTA during the relevant

 period. A CTA is any person who for compensation or profit “engages in the

 business of advising others, either directly or through publication, writings, or

 electronic media . . .” Id. § 1a(12) (2019). As stated above, Defendant allegedly

 used his marketing solicitations to entice consumers to open and fund binary

 options trading accounts. ECF No. 1 at 11 ¶ 11. Further, Defendant received a fee

 for each participant who opened and funded an account. Id. at 12 ¶ 42; ECF No.

 27-1 at 11-13. Defendant’s fraudulent solicitations were disseminated by e-mail,

 thus using an instrument of interstate commerce. ECF No. 27-1 at 10-11.

 Accordingly, Plaintiff has stated a claim for the violation of Section 4o of the Act

 and of Regulation 4.41.

              3.     Count III

              Count III alleges misrepresentation and omission of material facts in

 violation of Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) and 17 C.F.R. § 180.1.

 These sections provide that:

       It shall be unlawful for any person, directly or indirectly, in
       connection with any swap, or contract of sale of any commodity in
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       interstate commerce . . . to intentionally or recklessly: (1) use or
       employ, or attempt to use or employ, any manipulative device,
       scheme or artifice to defraud.

 17 C.F.R. § 180.1.

       By the conduct described in the Complaint, Defendant has violated these

 sections. Defendant intentionally committed fraud in connection with his binary

 options which qualify as a “swap” under Section 1a(47)(A), 7 U.S.C. § 1a(47)(A).

 See Commodity Futures Trading Comm’n v. Vault Options, Ltd., Civ. No. 16-

 01881, 2016 WL 5339716 at *6 (N.D. Ill. July 20, 2016) (stating that binary

 options are swaps). Defendant intentionally created and sent out fraudulent

 solicitations to convince consumers to open and fund binary trading accounts and

 use trading software that Defendant claimed would result in significant profit while

 minimizing or disclaiming the risks involved. ECF No. 1 at 13 ¶ 48. Defendant

 also misrepresented the risks involved in binary trading, the potential profits from

 binary trading, and the trading software’s effectiveness. Id. at 7 ¶ 23.

       Accordingly, Plaintiff has shown Defendant violated Section 6c(1) and

 Regulation 180.1.

       C.     The Sufficiency of the Complaint

       For the reasons discussed above, the Court finds that the allegations in the

 Complaint are sufficiently pled. Accordingly, the sufficiency of the Complaint

 weighs in favor of default judgment.


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       D.     The Sum of Money at Stake

       Regarding the fourth Eitel factor, the Court “must consider the amount of

 money at stake in relation to the seriousness of Defendant’s conduct.” PepsiCo,

 Inc., 238 F. Supp. 2d at 1176 (citing Eitel, 782 F.2d at 1472). In this case, in

 addition to injunctive relief, Plaintiff seeks a significant amount of damages, i.e.,

 $5,699,508.00 as a civil monetary penalty. However, Plaintiff’s damages request

 is tailored to the amount of specific misappropriated gains by Defendant. Under

 the circumstances, the Court concludes that this favors the entry of default

 judgment.

       E.     Possibility of Dispute Concerning Material Facts

       The fifth factor, the possibility of dispute concerning material factors,

 weighs in favor of default judgment. As noted above, the Court takes the well-pled

 allegations of the Complaint as true, except those relating to the amount of

 damages. TeleVideo Sys., Inc., 826 F.2d at 917-18. Despite being given a fair

 opportunity to defend against Plaintiff’s claims, Defendant has failed to do so.

 Although Plaintiff served Defendant by publication, Defendant has failed to make

 an appearance in this action or otherwise respond to Plaintiff’s claims. ECF. No.

 13-22. Because no dispute has been raised regarding Plaintiff’s material factual

 allegations, this factor favors default judgment.

       F.     Whether Default was Due to Excusable Neglect


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       Regarding the sixth factor, the Court finds that Defendant’s default was not

 the result of excusable neglect. Plaintiff served Defendant by publication on

 January 27, February 3, February 10, and March 17, 2020, and proof of service

 was filed with the Court on February 24, 2020. ECF No. 19. Defendant failed to

 defend this action, and the Clerk of Court entered default against him on March 19,

 2020. ECF No. 23. The record indicates that Defendant’s default was not the

 result of excusable neglect, but rather due to Defendant’s conscious and willful

 decision not to defend this action. Consequently, this factor favors the entry of

 default judgment.

       G.     Policy Favoring Decisions on the Merits

       The Court turns to the seventh and final Eitel factor. Defendant’s failure to

 answer Plaintiff’s Complaint makes a decision on the merits impractical, if not

 impossible. Under Federal Rule of Civil Procedure 55, “termination of a case

 before hearing the merits is allowed whenever a defendant fails to defend an

 action.” PepsiCo, Inc., 238 F. Supp. 2d at 1177; see also Philip Morris USA, Inc.

 v. Castworld Prods., Inc., 219 F.R.D. 494, 501 (C.D. Cal. 2003) (“the mere

 existence of Fed. R. Civ. P. 55(b) indicates that the seventh Eitel factor is not alone

 dispositive.”). Here, Defendant has failed to defend this action, and has thus

 rendered adjudication on the merits before this Court impracticable. Although the

 policy favoring decisions on the merits generally weighs against default judgment,


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 this factor alone does not preclude this Court from entering default judgment

 against Defendant. Accordingly, this factor does not weigh against default

 judgment.

       H.     Totality of the Eitel Factors

       Upon consideration of the foregoing Eitel factors, the Court finds that the

 totality of the factors weighs in favor of entering default judgment in favor of

 Plaintiff against Defendant as to the following counts: Count I: violations of

 Sections 4c(b) of the Act, 7 U.S.C. § 6c(b) (2012) and regulation 32.4, 17 C.F.R. §

 32.4 (2019); Count II: violations of Section 4o(1) of the Act, 7 U.S.C. § 6o(1)

 (2012); Count III: violations of Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) (2012)

 and Regulation 180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-(3) (2019); and Count IV:

 violation of Regulation 4.41(a)(1)-(2), 17 C.F.R. § 4.41(a)(1)(2) (2019). 3

 IV.   Remedies

       Although Defendant’s default establishes his liability to Plaintiff, it does not

 establish the amount of damages or other relief to which Plaintiff is entitled. See

 TeleVideo Sys., Inc., 826 F.2d at 917-18. Plaintiff must provide evidence to

 support its requested relief and the relief “must not differ in kind from, or exceed

 in amount, what is demanded in the pleadings.” Fed. R. Civ. P. 54(c). Here,



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  Plaintiff’s Motion does not request default judgment on Count V of the
 Complaint.
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 Plaintiff seeks: (1) a permanent injunction; (2) equitable remedies; and (3) a civil

 monetary penalty.

       A.     Permanent Injunction

       Plaintiff is seeking a permanent injunction enjoining Defendant from

 committing future violations of the Act and the Commission’s regulations.

 “Under Section 6c of the Commodity Exchange Act, 7 U.S.C. § 13a-1 (2006),

 injunctive relief is appropriate where there is a reasonable likelihood of future

 violations.” U.S. Commodity Futures Trading Comm’n, Capitol Equity FX LLC,

 Civ. No. 17-743 JGB (SKx), 2017 WL 9565340 *6 (C.D. Cal. July 31, 2017).

       While past misconduct does not necessarily lead to the conclusion that there

 is a likelihood of future misconduct, it is “highly suggestive of the likelihood of

 future violations.” CFTC v. CoPetro Marketing Grp., Inc., 502 F. Supp. 806, 818

 (C.D. Cal. 1980) (quoting CFTC v. Hunt, 591 F.2d 1211,1220 (7th Cir. 1979)). “In

 predicting the likelihood of future violations, a court must assess the totality of the

 circumstance surrounding the defendant . . . and it considers facts such as the

 degree of scienter involved; the isolated or recurrent nature of the infraction; the

 defendant’s recognitions of the wrongful nature of his conduct . . .” S.E.C. v.

 Murphy, 626 F.2d 633, 655 (9th Cir. 1980).

       In this case, Defendant and Partner defrauded approximately 25,000 victims

 and obtained over $3,799,633.00 in fees paid to them for the trading accounts that


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 were opened. ECF 27-1 at 12-13. Defendant’s conduct was not an isolated

 incident, but a continuing effort to use misleading solicitations to promote

 automated trading software from 2014 until December 2016. Additionally, there is

 no evidence before the Court that Defendant showed any remorse for his actions or

 the victim’s losses. In fact, at Defendant’s deposition taken during the

 Commission’s investigation, Defendant invoked the Fifth Amendment against self-

 incrimination for all of Plaintiff’s questions, thus taking no responsibility for his

 actions. ECF No. 27-4. Accordingly, the Court finds that there is a reasonable

 likelihood that Defendant would engage in the same acts and practices alleged in

 the Complaint. Therefore, the Court finds and recommends that Defendant be

 permanently enjoined form committing any future violations of the Act or of the

 Commission’s regulations.

       B.      Equitable Remedies

       7 U.S.C. § 13a-1(d)(3) provides that “the Commission may seek, and the

 court may impose . . . equitable remedies including - - (A) restitution to persons

 who have sustained losses proximately cause by such violation (in the amount of

 such losses); and (B) disgorgement of gains received in connection with such

 violation.”




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               1.    Restitution

               Defendant and Partner’s fraud was the proximate cause of the losses

 sustained by the victims. The victims of the fraudulent affiliate marketing scheme

 lost $6,258,250.00. Id. Partner, as part of his settlement with Plaintiff, was

 ordered to disgorge $1,899,837.00. Accordingly, Defendant shall be ordered to

 pay $6,258,250.00 with an off-set for any amount paid by Partner pursuant to the

 settlement.

               2.    Disgorgement

               Due to Defendant and Partner’s fraudulent conduct, they made

 $3,799,673.00 in gross profits. Id. As stated above, Partner was ordered to

 disgorge the amount of $1,899,837.00 pursuant to the settlement agreement with

 Plaintiff. Therefore, Defendant should be ordered to disgorge in the amount of

 $1,899,836.00.

       C.      Civil Monetary Penalty

       Plaintiff also seeks the imposition of a civil monetary penalty against

 Defendant. Section 6c(d)(1)(A) of the Act, 7 U.S.C. § 13a-1(d)(1)(A), permits the

 district court to impose on a person who is found to have violated the Act a civil

 monetary penalty of not more than the greater of $100,000 or triple the monetary

 gain to the person for each violation.




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       Specifically, Plaintiff requests a civil monetary penalty in the amount of

 $5,699,508.00. This amount represents three times Defendant’s gain of

 $1,899,836.00. Plaintiff requests the maximum civil monetary penalty because of

 the serious nature of Defendant’s misconduct, as well as Defendant’s refusal to

 participate in these proceedings. In light of the egregiousness of Defendant’s

 systemic and pervasive scheme to mislead and profit off of participants from at

 least 2014 to December 2016, the intentional nature of the conduct, and

 Defendant’s failure to defend this action or accept any responsibility for his

 misconduct, the Court finds and recommends that a civil monetary penalty in the

 amount of $5,699,508.00 is warranted in this case.


                                   CONCLUSION

       Based on the foregoing, the Court FINDS AND RECOMMENDS that the

 district court GRANT Plaintiff’s Motion for Final Judgment by Default, Permanent

 Injunction, Civil Monetary Penalties, and Other Statutory and Equitable Relief as

 follows:

 (1)   Default Judgment

       Enter default judgment in favor of Plaintiff and against Defendant on Counts

 I, II, III and IV of the Complaint. The Court takes no action on Count V of the

 Complaint, as it was not included in the relief requested in the instant Motion.



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 However, Plaintiff is directed to either file a motion for default judgment on Count

 V or a dismissal of Count V by August 12, 2020.

 (2)   Permanent Injunction

       Permanently restrain, enjoin and prohibit Defendant from directly or in

 directly:

       a.     Offering to enter into, entering into, confirming the execution of,

 maintaining positions in, or otherwise conducting activities relating to binary

 options;

       b.     Acting as an affiliate marketer in any capacity that involves binary

 options or any “commodity interest” (as that term is defined in Regulation 1.3, 17

 C.F.R. § 1.3 (2019);

       c.     Offering autotrading systems or services that purport to trade binary

 options or any “commodity interest” (as that term is defined in 17 C.F.R. § 1.3);

       d.     (1) Cheating or defrauding, or attempting to cheat or defraud any

 other person; (2) making or causing to be made false reports or statement to any

 person; or (3) deceiving or attempting to deceive any person in, or in connection

 with, an offer to enter into, the entry into, or the confirmation of the execution of,

 any commodity option transaction in interstate commerce that is a commodity

 option transaction, by using fraudulent solicitations in emails, websites and videos

 that promise free access to Trading Systems to induce prospective customers to


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 open and fund binary options trading accounts with a recommended broker so that

 Defendant can earn commissions, in violation of Section 4c(b) of the Act, 7 U.S.C.

 §6c(b) (2018), and Regulation 32.4, 17 C.F.R. § 32.4 (2019);

       e.     While acting as a CTA, using the instrumentalities of interstate

 commerce to: (1) employ any device, scheme, or artifice to defraud clients or

 prospective clients; or (2) engage in any transaction, practice, or course of business

 which operates as a fraud or deceit upon clients or prospective clients, by

 fraudulently soliciting members of the public and creating and/or disseminating

 fraudulent websites and emails to induce members of the public to go through a

 website funnel and open and fund binary options trading accounts with a

 recommended broker to access the advertised Trading System, in violation of

 Section 4o(1) of the Act, 7 U.S.C. § 6o(1)(2018);

       f.     While acting as a CTA, advertising in a manner which: (1) employs

 any device, scheme or artifice to defraud any client or prospective client; (2)

 involves any transaction, practice or course of business which operates as a fraud

 or deceit upon any client or prospective client; or (3) refers to any testimonial in an

 advertisement or sales literature that fails to prominently disclose that the

 testimonial: (i) may not represent the experience of other users of the marketed

 Trading System; (ii) is no guarantee of future performance; or (iii) uses paid actors




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 or misappropriated images from the internet, in violation of Regulation 4.41(a)(1)-

 (3), 17 C.F.R. § 4.41(a)(1)-(3) (2019);

       g.     (1) Using or employing, or attempting to use or employ, manipulative

 devices, schemes, and artifices to defraud; (2) making, or attempting to make,

 untrue or misleading statements of material fact; (3) omitting to state material facts

 necessary in order to make statements made not untrue or misleading; or (4)

 engaging, or attempting to engage, in acts, practices, and courses of business,

 which operate or would operate as a fraud or deceit upon any person in connection

 with swap transactions, by using fraudulent solicitations in emails, websites and

 fictitious videos that promise free access to Trading Systems to induce prospective

 customers to go through the website funnel and open and fund a binary options

 trading account with a recommended broker to earn commissions, in violation of

 Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) (2018), and Regulation 180.1(a), 17

 C.F.R. § 180.1(a)(2019);

       h.     Trading on or subject to the rules of any “registered entity” (as that

 term is defined in Section 1a(40) of the Act, 7 U.S.C. § 1a(40) (2018));

       i.     Entering into any transactions involving “commodity interests” (as

 that term is defined in Regulation 1.3, 17 C.F.R. § 1.3 (2019)) for Defendant’s

 personal account or for any account in which he has a direct or indirect interest;

       j.     Having any commodity interests traded on his behalf;


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       k.     Controlling or directing the trading for or on behalf of any other

 person or entity, whether by power of attorney or otherwise, in any account

 involving commodity interests;

       l.     Soliciting, receiving or accepting any funds from any person for the

 purpose of purchasing or selling any commodity interests:

       m.     Applying for registration or claiming exemption from registration

 with the Commission in any capacity, and engaging in any activity requiring such

 registration or exemption from registration with the Commission, except as

 provided for in Regulation 4.14(a)(9), 17 C.F.R. § 4.13(a)(9) (2019); and/or

       n.     Acting as a principal (as that term is defined in Regulation 3.1(a), 17

 C.F.R. § 3.1(a) (2019)), agent or any other officer or employee of any person (as

 that term is defined in Section 1a(38) of the Act, 7 U.S.C. § 1a(38) (2018))

 registered, exempted from registration or required to be registered with the

 Commission except as provided for in 17 C.F.R. § 4.14(a)(9);

 (3)   Restitution

       Order Defendant to pay restitution in the amount of $6,258,250.00

 (“Restitution Obligation”) with an off-set for any disgorgement paid by Partner

 pursuant to Partner’s settlement agreement with Plaintiff. Post-Judgment interest

 shall accrue beginning on the date of entry of any Order adopting these Findings

 and Recommendation and shall be determined by using the Treasury Bill rate


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 prevailing on the date of entry of the Order adopting these Findings and

 Recommendation pursuant to 28 U.S.C. § 1961 (2018).

       a.     To effect payment of the Restitution Obligation and the distribution of

 any restitution payments to customers, National Futures Association (“NFA”) shall

 be appointed Monitor (“Monitor”). The Monitor shall collect restitution payments

 from Defendant and make distributions as set forth below. Because the Monitor is

 acting as an officer of the Court in performing these services, the NFA shall not be

 liable for any action in inaction arising from NFA’s appointment as Monitor, other

 than actions involving fraud.

       b.     Defendant shall make Restitution Obligation payments, and any post-

 judgment interest payments to the Monitor in the name “Szatmari Restitution

 Fund” and shall send payments by electronic funds transfer, or by U.S. postal

 money order, certified check, bank cashier’s, or bank money order, to the Office of

 Administration, National Futures Association, 300 South Riverside Plaza, Suite

 1800, Chicago, Illinois 60606 under cover letter that identifies Defendant and the

 name and docket number of this proceeding. Defendant shall simultaneously

 transmit copies of the cover letter and the form of payment to the Chief Financial

 Officer, Commodity Futures Trading Commission, Three Lafayette Centre, 1155

 21st Street, NW, Washington, D.C. 20581.




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       c.     The Monitor shall oversee the Restitution Obligation and shall have

 the discretion to determine the manner of distribution of such funds in an equitable

 fashion to the pool participants identified by the Commission or may defer

 distribution until such time as the Monitor deems appropriate. In the event that the

 amount of Restitution Obligation payments to the Monitor are of a de minimis

 nature such that the Monitor determines that the administrative cost of making a

 distribution to eligible pool participants is impractical, the Monitor may, in its

 discretion, treat such restitution payments as civil monetary penalty payments,

 which the Monitor shall forward to the Commission following the instructions for

 civil monetary penalty payments set forth below.

       d.     Defendant shall cooperate with the Monitor as appropriate to provide

 such information as the Monitor deems necessary and appropriate to identify pool

 participants to whom the Monitor, in its sole discretion, may determine to include

 in any plan for distribution of any Restitution Obligation payments. Defendant

 shall execute any documents necessary to release funds that he has in any

 repository, bank, investment or other financial institution, wherever located, in

 order to make partial or total payment toward the Restitution Obligation.

       e.     The Monitor shall provide the Commission at the beginning of each

 calendar year with a report detailing the disbursement of funds to customers during

 the previous year. The Monitor shall transmit this report under a cover letter that


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 identifies the name and docket number of this proceeding to the

 Chief Financial Officer, Commodity Futures Trading Commission, Three

 Lafayette Centre, 1155, 21st Street, NW, Washington D.C. 20581.

       f.     The amounts payable to each customer shall not limit the ability of

 any customer from proving that a greater amount is owed from Defendant or any

 other person or entity, and nothing herein shall be construed in any way to limit or

 abridge the rights of any customer that exist under state or common law.

       g.     Pursuant to Rule 71 of the Federal Rules of Civil Procedure, each

 customer who suffered a loss is explicitly made an intended third-party beneficiary

 of an Order Adopting this Findings and Recommendation and may seek

 enforcement to obtain satisfaction of any portion of the restitution that has not been

 paid by Defendant to ensure continued compliance and to hold Defendant in

 contempt for any violations of any provision.

       h.     To the extent that any funds accrue to the U.S. Treasury for

 satisfaction of Defendant’s Restitution Obligation, such funds shall be transferred

 to the Monitor for disbursement in accordance with the procedures set forth above;

 (4)   Disgorgement

       Order Defendant to disgorge in the amount of $1,899,836.00

 (“Disgorgement Obligation”). Post-judgment interest shall accrue on this

 Disgorgement Obligation beginning on the date of entry of any Order Adopting


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 this Findings and Recommendation and shall be determined by using the Treasury

 Bill rate prevailing on the date of the entry of the Order Adopting this Findings and

 Recommendation pursuant to 28 U.S.C. § 1961 (2018).

       a.     Defendant shall pay his Disgorgement Obligation by electronic funds

 transfer, U.S. postal money order, certified check, bank cashier’s check, or bank

 money order. If payment is to be made other than by electronic funds transfer,

 then the payment shall be made payable to the Commodity Futures Trading

 Commission and sent to the address below:

                    MMAC/ESC/AMK326
                    Commodity Futures Trading Commission
                    Division of Enforcement
                    6500 S. MacArthur Blvd.
                    Oklahoma City, OK 73169
                    (405) 954-6569 office
                    (405) 954-1620 fax
                    9-AMC-AR-CFTC@faa.gov

       If payment by electric funds transfer is chosen, Defendant shall contact

 Marie Thorne or her successor at the address above to receive payment instructions

 and shall fully comply with those instructions. Defendant shall accompany

 payment of the Disgorgement Obligation with a cover letter that identifies

 Defendant and the name and docket number of this proceeding. Defendant shall

 simultaneously transmit copies of the cover letter and the form of payment to the

 Chief Financial Officer, Commodity Futures Trading Commission, Three

 Lafayette Centre, 1155 21st Street, NW, Washington, D.C. 20581; and
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 (5)   Civil Monetary Penalty

       Order Defendant to pay civil monetary penalty in the amount of

 $5,699,508.00 (“CMP Obligation”). If the CMP Obligation is not paid

 immediately, then post-judgment interest shall accrue on the CMP Obligation

 beginning on the date of entry of any Order Adopting this Findings and

 Recommendation and shall be determined by using the Treasury Bill rate

 prevailing on the date of the entry of any Order Adopting this Findings and

 Recommendation pursuant to 28 U.S.C. § 1961 (2018).

       a.     Defendant shall pay the CMP Obligation by electronic funds transfer,

 U.S. postal money order, certified check, bank cashier’s check, or bank money

 order. If payment is to be made other than by electronic funds transfer, then the

 payment shall be made payable to the Commodity Futures Trading Commission

 and sent to the address below:

                    MMAC/ESC/AMK326
                    Commodity Futures Trading Commission
                    Division of Enforcement
                    6500 S. MacArthur Blvd.
                    Oklahoma City, OK 73169
                    (405) 954-6569 office
                    (405) 954-1620 fax
                    9-AMC-AR-CFTC@faa.gov

       If payment by electric funds transfer is chosen, Defendant shall contact

 Marie Thorne or her successor at the address above to receive payment instructions

 and shall fully comply with those instructions. Defendant shall accompany
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 payment of the CMP Obligation with a cover letter that identifies Defendant and

 the name and docket number of this proceeding. Defendant shall simultaneously

 transmit copies of the cover letter and the form of payment to the Chief Financial

 Officer, Commodity Futures Trading Commission, Three Lafayette Centre, 1155

 21st Street, NW, Washington, D.C. 20581.

       b.     Acceptance by the Commission or the Monitor of any partial payment

 of Defendant’s Restitution Obligation, Disgorgement Obligation, or CMP

 Obligation shall not be deemed a waiver of his obligation to make further

 payments pursuant to this Findings and Recommendation, or a waiver of the

 Commissions’ right to compel payment of any remaining balance.

 (6)   Miscellaneous Provisions

       a.     Defendant shall cooperate fully and expeditiously with the

 Commission, including the Commission’s Division of Enforcement, in this action,

 and in any current or future action related thereto.

       b.     Until such time as Defendant satisfies in full the Restitution

 Obligation, Disgorgement Obligation, and CMP Obligation as set forth in this

 Findings and Recommendation, Defendant shall provide written notice to the

 Commission by certified mail of any change to his telephone number and mailing

 address within ten calendar days of the change;




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       c.    All notices required to be given by any provision in this Findings and

 Recommendation shall be sent certified mail, return receipt requested, as follows:

 Notice to Commission:

       Robert T. Howell
       Deputy Director, Division of Enforcement
       Commodity Futures Trading Commission
       525 W. Monroe St.
       Chicago, IL 60661

 Notice to NFA:

       Daniel Driscoll, Executive Vice President, COO
       National Futures Association
       300 S. Riverside Plaza, Suite 1800
       Chicago, IL 60606-3447

 All such notices to the Commission or the NFA shall reference the name and

 docket number of this action.

       IT IS SO FOUND AND RECOMMENDED.

       DATED: Honolulu, Hawaii, July 28, 2020.




     United States Commodity Futures Trading Commission v. Peter Szatmari, CV
     19-00544 DKW-KJM; Findings and Recommendation to Grant Plaintiff’s
     Motion for Final Judgment by Default, Permanent Injunction, Civil Monetary
     Penalties, and Other Statutory and Equitable Relief.


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